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             7   FAIR EDUCATION SANTA BARBARA, INC.
             8                       UNITED STATES DISTRICT COURT
             9                      CENTRAL DISTRICT OF CALIFORNIA
            10

            11   FAIR EDUCATION SANTA                     Case No.: 2:18-cv-10253
                 BARBARA, INC., a 501(c)(3)
            12   organization,                            COMPLAINT FOR
                                                          DECLARATORY AND
            13                      Plaintiff,            INJUNCTIVE RELIEF
            14                vs.                         JURY TRIAL DEMANDED
            15   SANTA BARBARA UNIFIED
                 SCHOOL DISTRICT, a public school
            16   district; and JUST COMMUNITIES
                 CENTRAL COAST, INC., a
            17   501(c)(3) organization.
            18                      Defendants.
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             1                                         INTRODUCTION
             2          A. Protecting California’s Citizens
             3          1.     Plaintiff Fair Education Santa Barbara (“Fair Education SB”) brings
             4   this action to help ensure that the Santa Barbara Unified School District (“SBUSD”)
             5   (and its school board) provide every student, irrespective of race, ethnicity, culture
             6   and sexual orientation, the opportunity to achieve his or her highest ability and
             7   potential.
             8          B. “Just Communities” Central Coast is Divisive and Discriminatory
             9          2.     This action is brought against the anti-Caucasian, anti-Christian
            10   organization calling itself, Just Communities Central Coast, Inc. (“JCCC”), and its
            11   willing enabler, SBUSD – two organizations that have had a veritable revolving
            12   door of employees working for each -- to obtain, among other relief, and without
            13   limitation, a declaratory judgment and an injunction under the Declaratory
            14   Judgment Act, 28 U.S.C. § 2201. JCCC and SBUSD are sometimes collectively
            15   referred to herein as “Defendants”.
            16          3.     Defendants have employed and continue to employ policies and
            17   procedures (for teaching SBUSD’s teachers and students) that unlawfully
            18   discriminate on the basis of race, ethnicity, sex and religion. As but one of many
            19   examples, the following chart is copied directly from JCCC’s materials and speaks
            20   for itself:
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                 (Exh. B, p. 15.)
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                       C. Just Communities’ “Unconscious Bias” Training Violates Federal and
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                            State Law
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                       4.     Under the guise of promoting so-called “unconscious bias” and
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                 “inclusivity” instruction, JCCC’s actual curriculum and practices are overtly and
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                 intentionally anti-Caucasian, anti-male, and anti-Christian. SBUSD has whole
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                 heartedly supported and promoted JCCC’s discriminatory program and has paid
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                 JCCC more than $1,000,000 since 2013 alone, and on September 11, 2018,
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                 considered contracting with JCCC for additional 4 years at a cost to the taxpayers of
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                 more than $1.7 million. On October 9, 2018, SBUSD renewed its contract with
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                 JCCC for another year at a cost to the taxpayers of nearly $300,000.
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                       5.     California Public Contracts Code § 20111 requires SBUSD to follow
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                 California’s mandated competitive billing procedures and put its “unconscious bias
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                 training” out for public bidding. SBUSD has failed to do so rendering its contract
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                 with JCCC void as a matter of law. There are scores of entities and individuals that
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                 provide “unconscious bias training,” and other forms of training for reducing the
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             1   achievement gap, such as the Santa Barbara Pathways Program, run by the
             2   University of California, Santa Barbara, as well as numerous online courses. But
             3   unlike JCCC, they do not single out Caucasians and Christians as the cause of the
             4   ills purportedly suffered by all others.
             5         6.     SBUSD’s Board Policy No. 3600 requires SBUSD to obtain a conflict
             6   of interest statement regarding the relationships between JCCC and SBUSD.
             7   SBUSD has failed to do so. Fair Education SB is informed and believes, and based
             8   thereon alleges, that at least 7 individuals, including present SBUSD Board member
             9   Ismael Paredes Ulloa, and present Assistant Superintendent of Secondary Education
            10   Shawn Carey, have been employed at one time or another by both entities and/or its
            11   major donors. These conflicts of interest help explain SBUSD’s apparent zeal to
            12   contract with JCCC.
            13         7.     Defendants, recipients of federal funds, are also in violation of the
            14   United States Constitution as they discriminate on the basis of their race in violation
            15   of Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq. by
            16   intentionally supporting, promoting and implementing JCCC’s programming in
            17   SBUSD’s schools with knowledge of its racially discriminatory content and
            18   application, which has created a racially hostile educational environment for many
            19   teachers and students.
            20         c.     Relief Requested
            21         8.     Fair Education SB respectfully requests that the Court find that
            22   SBUSD and JCCC are in violation of the United States Constitution, 42 U.S.C. §
            23   2000d, et seq., 42 U.S.C. § 1983, California Government Code § 11135, California
            24   Education Code § 220, California Education Code § 60044 and California Public
            25   Contracts Code § 20111 and now declare as void, and terminate, JCCC’s current
            26   contract with SBUSD.
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             1                             JURISDICTION AND VENUE
             2         9.     This action arises under 42 U.S.C. § 2000d, et seq. and 42 U.S.C. §
             3   1983. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.
             4         10.    Venue is proper in the Central District of California under 28 U.S.C. §
             5   1391 because the events giving rise to the claims detailed herein occurred in the
             6   Central District of California.
             7                                     THE PARTIES
             8         A.     Plaintiff
             9         11.    Plaintiff, Fair Education Santa Barbara is an Internal Revenue Code
            10   Section 501(c)(3) organization formed to advocate for fair education policies in the
            11   Santa Barbara Unified School District and in Santa Barbara County that benefit all
            12   Americans educated in the Santa Barbara Unified School District through, among
            13   other methods, lobbying, grass roots organizing, community outreach, legal actions
            14   and education.
            15         12.    Fair Education Santa Barbara is a coalition of concerned parents of
            16   students in the Santa Barbara Unified School District, all of whom are residents and
            17   tax payers within Santa Barbara County. Members of Fair Education Santa Barbara
            18   are assessed for, liable to pay, and have paid real property taxes and assessments on
            19   property located within the Santa Barbara Unified School District’s boundaries
            20   within one year before commencement of this action. Members of Fair Education
            21   Santa Barbara include SBUSD taxpayers and parents of current minor students in
            22   the SBUSD system that identify as Caucasian, Christian and/or male.
            23         B.     Defendants
            24         13.    Defendant Santa Barbara Unified School District is a public-school
            25   district located in Santa Barbara County, California, organized and existing under
            26   the laws of the State of California. As a public educational institution and recipient
            27   of federal and state funds, SBUSD has a duty to enforce the United States
            28   Constitution and California Constitution by not enacting, imposing, operating, or
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             1   maintaining policies, operations, or goals that discriminate against or grant
             2   preferential or detrimental treatment to any individual or group on the basis of race,
             3   sex, color, religion, ethnicity or national origin.
             4         14.    SBUSD receives and benefits from federal and state financial
             5   assistance, as well as taxes and assessments paid by the members of Fair
             6   Communities SB. SBUSD has utilized and expended public monies in violation of
             7   the United States Constitution and California Constitution. So long as Defendants
             8   continue to implement, enforce, and maintain their discriminatory policies,
             9   procedures and curriculum, they will continue to expend public funds in violation of
            10   the aforementioned Federal and State Constitutional provisions.
            11         15.    Defendant Just Communities Central Coast is an Internal Revenue
            12   Code Section 501(c)(3) organization. From its website, JCCC purports to “work to
            13   ensure that Central Coast schools, organizations and communities are places of
            14   opportunity, not places of limitations” and to “bring together community members
            15   and empower them to be leaders who promote equity around issues of race, socio-
            16   economic class, sexual orientation, [and] gender.” JCCC’s self-serving statements
            17   to the contrary, its program materials and program methodology promote the
            18   opposite. JCCC has contracted with the SBUSD to provide educational programs to
            19   the SBUSD teachers and students that engage in impermissible discrimination on
            20   the basis of race, sex, ethnicity and religion.
            21         16.    All named Defendants are persons acting under color of state law
            22   within the meaning of 42 U.S.C. § 1983.
            23                               FACTUAL BACKGROUND
            24         17.    Fair Education SB is informed and believes, and based thereon alleges,
            25   that for the past several years, SBUSD has engaged JCCC to provide training and
            26   educational programs to SBUSD staff and students with respect to “diversity,
            27   inclusion, and equity.” JCCC’s programs consist of several workshops and training
            28   sessions provided to SBUSD staff and students throughout the year.
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             1            18.     SBUSD funds JCCC’s programming through state and federal funds
             2   earmarked in its Local Control Accountability Plan (“LCAP”). LCAP funds can be
             3   used by the district for many purposes, including for example, music, dance, theater
             4   and visual arts training for foster care, low-income and English learner children.1 To
             5   date, SBUSD has paid JCCC well-over $1,000,000 to provide its programs to
             6   SBUSD staff and students. On or about October 9, 2018, for the 2018-2019 school
             7   year, SBUSD entered into a renewed contract with JCCC (the “2018 JCCC
             8   Contract”) to again provide its so-called “diversity, inclusion and equity” programs
             9   for a total cost to the tax payers of at least $294,000 for the school year. A true and
            10   correct copy of the JCCC Contract that was approved by SBUSD is attached hereto
            11   as Exhibit A.
            12                  a. JCCC’s Racially and Religiously Divisive Agenda
            13            19.     While JCCC purports to provide “diversity, inclusion and equity”
            14   programs, its actual curriculum and programs are anything but. JCCC’s actual
            15   programming is a radical, exclusionary and discriminatory curriculum,
            16   masquerading under the guise of “advancing justice” and making communities
            17   “more inclusive and just for all people.” JCCC’s curriculum and written materials
            18   attempt to indoctrinate staff and students with a warped view of the world where
            19   racism can only be perpetrated by “white people” and where the success of students
            20   in so-called “privileged” groups is due solely to their “unearned access to resources
            21   . . .”
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                        As explained for example, in “A Parent’s Guide to School Funding –
            25   Learning the Fundamentals About LCFF and LCAP”, arts education boosts
                 literacy, math skills, and ELA for English Language Learners, who are more likely
            26   to pursue a college degree if they attend an arts-enriched high school. Arts
                 education is also linked to improved state test scores among low income students.
            27   https://www.familiesinschools.org/wp-content/uploads/2016/05/Parents-Guide-to-
                 School-Funding-LCFF.pdf.
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             1         20.      True and correct copies of JCCC’s materials, that were able to be
             2   obtained by a parent who attended some of JCCC’s courses, are attached hereto as
             3   Exhibit B. These documents are exactly in the form obtained from JCCC.
             4   Nevertheless, JCCC has engaged in an ongoing effort to obfuscate and confuse the
             5   public to try to divert attention from JCCC’s racist and divisive materials, by
             6   asserting that some of its materials have purportedly been altered. Making matters
             7   worse, JCCC (and SBUSD) have ignored repeated demands to put the issue of
             8   alleged altered documents to rest, by repeatedly refusing (despite multiple demands
             9   therefore), to post JCCC’s materials on the district’s or another publicly available
            10   website, to allow all the citizens of Santa Barbara to see JCCC’s agenda for
            11   themselves.
            12         21.      JCCC’s materials contain the following direct quotes, among many
            13   others:
            14               a. “Privileged Groups” include “Men,” “White People,” “Christian
            15                  People,” and “Wealthy People,” and “Target Groups” include
            16                  “Women,” “People of Color,” and “Working Class & Poor.” (Exh. B,
            17                  p. 15.)
            18               b. “Racism” is “[a] system of oppression based on race that privileges
            19                  white people and targets people of color.” (Exh. B, p. 17.)
            20               c. “Privilege” is “[u]nearned access to resources that enhance one’s
            21                  chances of getting what one needs or influencing others in order to lead
            22                  a safe, productive and fulfilling life.” (Exh. B, p. 19.)
            23               d. JCCC’s materials define “Religious Oppression” as “Christian People”
            24                  targeting “All Others” and “Sexism” as “Men” targeting “Women.”
            25                  (Exh. B, p. 15.)
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             1         22.       Utilizing this ideological framework, during the actual workshops and
             2   training sessions, JCCC physically separates participants into different racial
             3   groups, requiring all individuals that JCCC perceives to be “white” to be segregated
             4   in a separate room to receive instruction that differs from all perceived “non-white”
             5   participants.
             6         23.       In these racially segregated sessions, the “white” participants are
             7   instructed that, whether they are conscious of it or not, all “white people” are racist
             8   and collude to promote or perpetuate racism against non-whites. JCCC’s program
             9   administrator, Jarrod Schwartz, admitted that JCCC splits its participants into
            10   separate racial groups to receive differing instruction in a recent interview with
            11   KCRW Santa Barbara, which can be found at: https://kcrw.co/2R0a0s8.
            12         24.       JCCC’s written curriculum further states that “public schools teach
            13   ‘skills’ that business owners find useful like competition, obedience and respect for
            14   authority,” and that “public schools create the illusion that everyone has an equal
            15   chance” and that “wealthy people and business shaped the schools to contain and
            16   control poor people.” (Exh. B, pp. 87-88.)
            17         25.       Past participants in JCCC’s programs for SBUSD have reported that, if
            18   any dissent or argument is expressed concerning JCCC’s instruction, the dissenter is
            19   labeled as a racist. This has led to a situation where JCCC and SBUSD have
            20   effectively silenced any dissent to JCCC’s indoctrination for fear of being publicly
            21   branded a “racist” or an “oppressor.”
            22         26.       Fair Education SB is informed and believes, and based thereon alleges,
            23   that the purportedly successful results JCCC and SBUSD tout about their impact on
            24   the district’s students, have neither been properly or correctly analyzed or vetted
            25   and, amount to nothing more than the self-serving and self-created statements of
            26   these two entities that are intent on doing and saying whatever is necessary to
            27   continue their incestuous (and to JCCC – very profitable) relationship.
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              1         27.      The negative effects of JCCC’s programming are reverberating within
              2   SBUSD and creating a hostile educational environment for teachers and students
              3   that fall within a so-called “Privileged Group” as per JCCC’s materials. Anti-white
              4   graffiti has appeared within SBUSD schools. Anti-white racial epithets have been
              5   hurled at SBUSD teachers and students. Anti-white slogans have recently defaced
              6   the Mission Santa Barbara.
              7         b.       The SBUSD’s School Board Contracts with JCCC
              8         28.      On September 11, 2018, SBUSD’s Board considered entering into a
              9   four-year Memorandum of Understanding with JCCC for its programming at a cost
             10   of $1,737,910. (Ex. C [JCCC Proposed MOU].)
             11         29.      At the September 11th meeting, JCCC’s proposal was challenged by a
             12   group of concerned teachers and parents within SBUSD. Concerns were expressed
             13   regarding JCCC’s discriminatory programming, the failure of the proposed JCCC
             14   MOU to adhere to district contracting standards, numerous conflicts of interest
             15   between JCCC and the SBUSD School Board, and the failure of SBUSD to open
             16   the contract for public bidding as required by California Public Contracts Code §
             17   20111. As a result of this initial challenge, SBUSD tabled approval of the proposed
             18   JCCC MOU until October of 2018.
             19         30.      At the October 9, 2018 SBUSD School Board meeting, the group of
             20   concerned teachers and parents requested among other things:
             21               a. That the School Board publish JCCC’s written materials on the
             22                  Board’s website so that all of Santa Barbara’s citizens could see for
             23                  themselves exactly what JCCC is teaching their teachers and students.
             24                  SBUSD Assistant Superintendent of Secondary Education Shawn
             25                  Carey – a former instructor at JCCC -- told the Board that JCCC’s
             26                  materials should not be published. The Board did not publish the
             27                  materials.
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              2                  b. That the School Board submit the district’s “unconscious bias training”
              3                     program for public bidding. The Board refused.
              4            31.      Instead, a revised, one-year contract with JCCC for an aggregate cost
              5   of $294,000 was proposed and approved. (See Ex. A [JCCC Contract].)
              6            32.      JCCC is scheduled to give its next instructional program to SBUSD
              7   under the JCCC Contract on March 11-15, 2019.
              8                                              COUNT I
              9                               Violation of 42 U.S.C. § 2000d et seq.
             10   (Intentional Discrimination On The Basis Of Race Against SBUSD and JCCC)
             11            33.      Plaintiff incorporates the allegations and averments contained in
             12   paragraphs 1 through 32 as if fully set forth herein.
             13            34.      SBUSD and JCCC, recipients of federal funds, intentionally
             14   discriminated against certain of Plaintiff’s members and/or their minor children
             15   students on the basis of their race in violation of Title VI of the Civil Rights Act of
             16   1964, 42 U.S.C. § 2000d, et seq. by intentionally supporting, promoting and
             17   implementing JCCC’s programming in SBUSD’s schools with knowledge of its
             18   racially discriminatory content and application, which has created a racially hostile
             19   educational environment for teachers and students who are Caucasian.
             20            35.      Title VI is privately enforceable.
             21            36.      Discrimination that violates the Equal Protection Clause of the
             22   Fourteenth Amendment of the United States Constitution constitutes a violation of
             23   Title VI when committed by any institution, entity or person that accepts federal
             24   funds.
             25            37.      Plaintiff’s members have been and will continue to be injured due to
             26   SBUSD and JCCC’s unlawful and discriminatory actions.
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              1         38.    Plaintiff is entitled to a declaratory judgment, pursuant to 28 U.S.C. §
              2   2201, and a permanent injunction because there is no plain, adequate or speedy
              3   remedy at law to prevent Defendants from continuing to practice and promote the
              4   aforementioned actions that discriminate on the basis of race or ethnicity in
              5   violation of Title VI of the Civil Rights Act of 1964 and because the harm
              6   Plaintiff’s members will otherwise continue to suffer is irreparable.
              7                                        COUNT II
              8                               Violation of 42 U.S.C. § 1983
              9   (Intentional Discrimination On The Basis Of Race, Ethnicity, Religion And Sex
             10                                Against SBUSD and JCCC)
             11         39.    Plaintiff incorporates the allegations and averments contained in
             12   paragraphs 1 through 38 as if fully set forth herein.
             13         40.    Defendants SBUSD and JCCC are persons acting under color of state
             14   law within the meaning of 42 U.S.C. § 1983.
             15         41.    SBUSD and JCCC intentionally discriminated against certain of
             16   Plaintiff’s members and/or their minor children students on the basis of their race,
             17   ethnicity, religion and/or sex by intentionally supporting, promoting and
             18   implementing JCCC’s programming in SBUSD’s schools with knowledge of its
             19   discriminatory content and application, which has created a hostile educational
             20   environment for teachers and students who are Caucasian, Christian and/or Male.
             21         42.    Plaintiff’s members have been and will continue to be injured due to
             22   SBUSD and JCCC’s unlawful and discriminatory actions.
             23         43.    Plaintiff is entitled to a declaratory judgment that Defendants’ conduct
             24   is in violation of 42 U.S.C. § 1983 and the United States Constitution and a
             25   permanent injunction because there is no plain, adequate or speedy remedy at law to
             26   prevent Defendants from continuing to practice and promote the aforementioned
             27   discriminatory actions and because the harm Plaintiff’s members will otherwise
             28   continue to suffer is irreparable.
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              1                                         COUNT III
              2                   Violation of California Government Code § 11135
              3   (Intentional Discrimination On The Basis Of Race, Ethnicity, Religion And Sex
              4                                Against SBUSD and JCCC)
              5         44.    Plaintiff incorporates the allegations and averments contained in
              6   paragraphs 1 through 43 as if fully set forth herein.
              7         45.    California Government Code § 11135 prohibits discrimination and/or
              8   denial of the full and equal access to the benefits of any program or activity that is
              9   conducted, operated, or administered by the state or by any state agency, is funded
             10   directly by the state, or receives any financial assistance from the state on the basis
             11   of sex, race, color, religion, ancestry, national origin, or ethnic group identification,
             12   among other things.
             13         46.    Defendants SBUSD and JCCC receive state funding.
             14         47.    SBUSD and JCCC intentionally discriminated against certain of
             15   Plaintiff’s members and/or their minor children students on the basis of their race,
             16   ethnicity, religion and/or sex by intentionally supporting, promoting and
             17   implementing JCCC’s programming in SBUSD’s schools with knowledge of its
             18   discriminatory content and application, which has created a hostile educational
             19   environment for teachers and students who are Caucasian, Christian and/or Male.
             20         48.    Defendants SBUSD and JCCC have violated Plaintiff’s rights under
             21   California Government Code § 11135 and its implementing regulations.
             22         49.    Plaintiff’s members have been and will continue to be injured due to
             23   SBUSD and JCCC’s unlawful and discriminatory actions.
             24   ///
             25   ///
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              1          50.     Plaintiff is entitled to a declaratory judgment that Defendants’ conduct
              2   is in violation of California Government Code § 11135 and a permanent injunction
              3   because there is no plain, adequate or speedy remedy at law to prevent Defendants
              4   from continuing to practice and promote the aforementioned discriminatory actions
              5   and because the harm Plaintiff’s members will otherwise continue to suffer is
              6   irreparable.
              7                                         COUNT IV
              8                       Violation of California Education Code § 220
              9   (Intentional Discrimination On The Basis Of Race, Ethnicity, Religion And Sex
             10                                Against SBUSD and JCCC)
             11          51.     Plaintiff incorporates the allegations and averments contained in
             12   paragraphs 1 through 50 as if fully set forth herein.
             13          52.     California Education Code § 220 prohibits discrimination on the basis
             14   of gender, nationality, race or ethnicity, and religion, among other things, in any
             15   program or activity conducted by an educational institution that receives, or benefits
             16   from, state financial assistance, or enrolls pupils who receive state student financial
             17   aid.
             18          53.     Defendants SBUSD and JCCC receive and/or benefit from state
             19   financial assistance and are, thus, subject to California Education Code § 220.
             20          54.     SBUSD and JCCC intentionally discriminated against certain of
             21   Plaintiff’s members and/or their minor children students on the basis of their race,
             22   ethnicity, religion and/or gender by intentionally supporting, promoting and
             23   implementing JCCC’s programming in SBUSD’s schools with knowledge of its
             24   discriminatory content and application, which has created a hostile educational
             25   environment for teachers and students who are Caucasian, Christian and/or Male.
             26          55.     Defendants SBUSD and JCCC have violated Plaintiff’s rights under
             27   California Education Code § 220 and its implementing regulations.
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              1          56.     Plaintiff’s members have been and will continue to be injured due to
              2   SBUSD and JCCC’s unlawful and discriminatory actions.
              3          57.     Plaintiff is entitled to a declaratory judgment that Defendants’ conduct
              4   is in violation of California Education Code § 220 and a permanent injunction
              5   because there is no plain, adequate or speedy remedy at law to prevent Defendants
              6   from continuing to practice and promote the aforementioned discriminatory actions
              7   and because the harm Plaintiff’s members will otherwise continue to suffer is
              8   irreparable.
              9                                          COUNT V
             10                        Violation of California Education Code § 60044
             11                                      (Against SBUSD)
             12          58.     Plaintiff incorporates by reference paragraphs 1 through 57 as though
             13   set forth in full.
             14          59.     California Education Code § 60044 prohibits a governing school board
             15   from adopting any instructional materials for use in the schools that contain any
             16   matter reflecting adversely upon persons on the basis of race or ethnicity, gender,
             17   religion or other characteristic listed in California Education Code § 220.
             18          60.     SBUSD’s adoption of JCCC’s discriminatory programs and curriculum
             19   is violative of California Education Code § 60044 because these materials reflect
             20   adversely on certain of Plaintiff’s members on the basis of their race or ethnicity,
             21   gender and/or religion.
             22          61.     Plaintiff’s members have been and will continue to be injured due to
             23   SBUSD, adoption of JCCC’s improper educational curriculum and materials.
             24   ///
             25   ///
             26   ///
             27   ///
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                                                         COMPLAINT
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              1           62.    Plaintiff is entitled to a declaratory judgment that SBUSD’s conduct is
              2   in violation of California Education Code § 60044 and a permanent injunction
              3   because there is no plain, adequate or speedy remedy at law to prevent SBUSD
              4   from continuing to adopt and promote these improper instructional materials and
              5   because the harm Plaintiff’s members will otherwise continue to suffer is
              6   irreparable.
              7                                         COUNT VI
              8                   Violation of California Public Contract Code § 20111
              9                               (Against SBUSD And JCCC)
             10           63.    Plaintiff incorporates by reference paragraphs 1 through 62 as though
             11   set forth in full.
             12           64.    California Public Contract Code § 20111 requires, in pertinent part,
             13   that:
             14           The governing board of any school district, in accordance with any
             15           requirement established by that governing board pursuant to
                          subdivision (a) of Section 2000, shall let any contracts involving an
             16           expenditure of more than fifty thousand dollars ($50,000) for any of
             17           the following: […] (B) Services, except construction services. …
             18           65.    California’s laws requiring competitive bidding for government
             19   contracts “are for the purpose of inviting competition, to guard against favoritism,
             20   improvidence, extravagance, fraud and corruption, and to secure the best work or
             21   supplies at the lowest price practicable … and should be so construed and
             22   administered as to accomplish such purpose fairly and reasonably with sole
             23   reference to the public interest.” Domar Electric, Inc. v. City of Los Angeles, 9 Cal.
             24   4th 161, 173 (1994).
             25           66.    SBUSD has contracted with JCCC for JCCC to provide educational
             26   and training services to SBUSD teachers and students for the next year pursuant to
             27   the JCCC Contract at a cost of $294,430.
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              1         67.     The JCCC Contract is not a contract for professional services or
              2   advice, insurance services, or any other purchase or service otherwise exempt from
              3   the provisions of California Public Contracts Code § 20111. The JCCC Contract is
              4   also not a contract for special services under California Government Code § 53060.
              5         68.     Accordingly, the SBUSD and SBUSD School Board were required to
              6   comply with the provisions of California Public Contracts Code § 20111, et seq.
              7   and to seek public bidding prior to accepting and executing the JCCC Contract.
              8         69.     However, neither the SBUSD nor the SBUSD School Board let this
              9   proposed contract for public bidding as required by California Public Contracts
             10   Code § 20111. Instead, it was unanimously approved, and rubber stamped by the
             11   SBUSD School Board and SBUSD administration without any serious negotiation
             12   or investigation into other viable alternative programs.
             13         70.     These actions are particularly concerning given the numerous real and
             14   potential conflicts of interest between JCCC and the SBUSD and SBUSD School
             15   Board. Plaintiff, through its own research, has discovered and alleges upon
             16   information and belief the following actual or potential conflicts of interest to date
             17   (and there are likely more):
             18               a. Current SBUSD School Board member, Ismael Ulloa, who voted to
             19                 approve the JCCC Contract, was a paid teacher for JCCC in 2016;
             20               b. Annette Cordero was a two-term member of the SBUSD School
             21                 Board, serving from 2004 through 2012 and is currently a member of
             22                 JCCC’s Board of Directors;
             23               c. Dave Cash was the superintendent of SBUSD from 2011 through 2016
             24                 and approved numerous of JCCC’s prior contracts with the district.
             25                 Dr. Cash is currently a member of JCCC’s Board of Directors.
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              1               d. Monique Limon was a SBUSD School Board member from 2014
              2                  through 2017 and among other things, currently sits on the Grant
              3                  Review Committee of the McCune Foundation, which is a major
              4                  source of funding for JCCC;
              5               e. Pedro Paz was a SBUSD School Board member from 2012 through
              6                  2016 (ending his tenure as Vice President) and is the current head of
              7                  the Fund For Santa Barbara, which is another major contributor to
              8                  JCCC;
              9               f. Current SBUSD Assistant Superintendent of Secondary Education,
             10                  Shawn Carey, was an instructor for JCCC and a major promoter of
             11                  JCCC within the district;
             12               g. Current SBUSD administrative assistant, Alma Flores, was a paid
             13                  teacher for JCCC and currently sits on JCCC’s Board of Directors;
             14               h. Current SBUSD Director of English Learners and Parent Engagement,
             15                  Maria Larios-Horton, was on JCCC’s Board of Directors as recently as
             16                  2017.
             17         71.      Moreover, SBUSD violated its own written Board Policy No. 3600 and
             18   failed and refused to obtain a written conflict of interest statement from JCCC prior
             19   to considering and approving the JCCC Contract.
             20         72.      SBUSD has violated California Public Contract Code § 20111 and the
             21   JCCC Contract must be declared void and the district’s “unconscious bias training”
             22   must be submitted by the SBUSD and SBUSD School Board for public bidding.
             23   ///
             24   ///
             25   ///
             26   ///
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              1                                  PRAYER FOR RELIEF
              2         WHEREFORE, Fair Education Santa Barbara respectfully prays for the
              3   following relief as to all counts:
              4         1.     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
              5   U.S.C. § 2201, from the Court that Defendants SBUSD and JCCC’s above-
              6   described actions violate Title VI of the Civil Rights Act of 1964, 42 U.S.C. §
              7   2000d et seq.;
              8         2.     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
              9   U.S.C. § 2201, from the Court that Defendants SBUSD and JCCC’s above-
             10   described actions violate the Equal Protection Clause of the Fourteenth Amendment
             11   of the United States Constitution, 42 U.S.C. § 1983;
             12         3.     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
             13   U.S.C. § 2201, from the Court that Defendants SBUSD and JCCC’s above-
             14   described actions violate California Government Code § 11135;
             15         4.     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
             16   U.S.C. § 2201, from the Court that Defendants SBUSD and JCCC’s above-
             17   described actions violate California Education Code § 220;
             18         5.     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
             19   U.S.C. § 2201, from the Court that Defendant SBUSD’s above-described actions
             20   violate California Education Code § 60044;
             21         6.     A declaratory judgment, pursuant to the Declaratory Judgment Act, 28
             22   U.S.C. § 2201, from the Court that Defendant SBUSD’s failure to allow public
             23   bidding on the matter ultimately awarded to JCCC pursuant to the JCCC Contract
             24   violates California Public Contracts Code § 20111 and that the JCCC Contracts is
             25   automatically void and terminated.
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              1         7.     A preliminary and permanent injunction preventing Defendants
              2   SBUSD and JCCC from carrying out the terms of the JCCC Contract and from
              3   allowing JCCC to conduct its educational programs pursuant to the JCCC Contract
              4   and requiring SBUSD to submit the “unconscious bias training” for public bidding.
              5         8.     An award of attorney’s fees and costs to Fair Education Santa Barbara;
              6   and
              7         9.     Such other and further relief as the Court may deem just and proper.
              8

              9
                  Dated: December 10, 2018               EARLY SULLIVAN WRIGHT
                                                          GIZER & McRAE LLP
             10

             11                                          By: /s/
             12
                                                              Eric P. Early
                                                              Attorneys for Plaintiff
             13                                               FAIR EDUCATION SANTA
                                                              BARBARA, INC.
             14

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             16
                                              JURY REQUEST/DEMAND
             17
                        Plaintiff requests a trial by jury on all issues so triable.
             18

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             21   Dated: December 10, 2018               EARLY SULLIVAN WRIGHT
                                                          GIZER & McRAE LLP
             22

             23                                          By: /s/
             24                                               Eric P. Early
                                                              Attorneys for Plaintiff
             25                                               FAIR EDUCATION SANTA
                                                              BARBARA, INC.
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